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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 United States of America, et al.,

                               Plaintiffs,           Case No. 1:20-cv-03010-APM

 v.                                                  HON. AMIT P. MEHTA
 Google LLC,

                               Defendant.


 State of Colorado, et al.,

                               Plaintiffs,           Case No. 1:20-cv-03715-APM

 v.                                                  HON. AMIT P. MEHTA
 Google LLC,

                               Defendant.




                                       STATUS REPORT

       Pursuant to the Court’s directive during the July 19, 2023 status conference that the

parties provide a written update by July 26, 2023 to the Court regarding issues raised at the status

conference, the parties in United States v. Google LLC and State of Colorado v. Google LLC

submit the following Status Report.
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I.     Joint Submission

       First, the parties have met-and-conferred and submit the enclosed Joint Proposed Order

regarding the exchange of information relating to witness order during trial. The parties jointly

request that the Court enter this proposed order.

       Second, the parties have met-and-conferred and agree to proceed under the timing

allocated by the Court’s June 30, 2023 Order, ECF No. 610. The parties request no further

guidance from the Court.

       The Plaintiffs request additional guidance from the Court regarding the filing and length

of a pre-trial brief as contemplated by the CMO.

II.   Position Statements Regarding a Dispute Regarding the Filing and Length of
Pre-Trial Briefs

       A.      DOJ Plaintiffs Position Statement

       DOJ Plaintiffs request the opportunity to submit a 25-page pretrial brief on August 29,

the date currently required by the CMO and previously agreed to by Google. DOJ Plaintiffs

believe that a short, focused brief will help contextualize this important case for the Court in

advance of the trial.1 While the Court has received ample briefing in response to select issues

raised in Google’s Motion for Summary Judgment and other discovery briefing, it has not

received DOJ Plaintiffs’ arguments in support of their claims and allegations in the complaint.

DOJ Plaintiffs believe this brief will assist the Court and provide a preview and overview of the

arguments. DOJ Plaintiffs therefore respectfully request the opportunity to file a pretrial brief in

advance of this important, landmark trial as is provided for in the CMO. ECF No. 108-1 at 6.




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  As has been discussed at prior status hearings, DOJ Plaintiffs agree that a formal pre-trial
statement under Local Rule 16.5 is not necessary in this matter. Hr’g Tr. at 33:6-16 (June 28,
2023); Hr’g Tr. at 21:2-18 (July 19, 2023).
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       B.      Colorado Plaintiffs Position Statement

       Plaintiff States agree with the DOJ Plaintiffs that a concise pre-trial brief will assist the

Court in framing the critical issues in advance of trial, including the incremental conduct at issue

in Plaintiff States’ claims. The Case Management Order agreed upon at the onset of this case

contemplates the Parties will submit pre-trial briefs on August 29, 2023. Accordingly, Plaintiff

States request the Court establish a 25-page limit for Plaintiff States to address our additional

allegations.

       C.      Google’s Position Statement

       Google raised to the Court the question of whether the Court wished to receive pre-trial

briefs at the last hearing, and understood the Court to direct that they were not needed. July 19,

2023 Hr’g Tr. at 21:9-18. Plaintiffs did not object at the hearing, id. at 21:19-22, and they did

not raise the issue with Google at any point until a week after the hearing, even though the

parties exchanged numerous emails and participated in meet-and-confers about other matters in

the meantime. Google’s position with respect to pre-trial briefs is that they are not necessary in

light of the proceedings to date, including the tutorial, summary judgment briefing and hearing,

Daubert motions, and submission of expert summaries, as well as the fact that post-trial briefing

will follow the conclusion of the trial. Google agrees with the view articulated by the Court that

the parties’ resources would be better spent on other pre-trial matters.



Dated: July 26, 2023                            Respectfully submitted,

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